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                             UNITED STATES DISTRICT COURT

                                DISTRICT OF SOUTH DAKOTA

                                     CENTRAL DIVISION


 UNITED STATES OF AMERICA,                                       3:23-CR-30072-RAL

                        Plaintiff,
                                                     OPINION AND ORDER ON MOTIONS IN
                                                                        LIMINE
         vs.



 FONTANA BRAVE HAWK,

                        Defendant.




   I. Background


         Defendant Fontana Brave Hawk is charged in a two count indictment. Specifically, the


United States has charged Brave Hawk with one count of assault with a dangerous weapon and


one count of assault resulting in serious bodily injury relating to an incident on November 24,


2022, at Spring Creek on the Rosebud Indian Reservation during which Angela Points At Him

allegedly was beaten with a bat and shod feet resulting in serious bodily injury. Brave Hawk has

pleaded not guilty to these charges, and the parties are proceeding to trial. This Court held a


pretrial conference and motion hearing on March 11, 2024, at which it heard argument and mled


on each party's motions in limine. This Court now formalizes its rulings with this Opinion and


Order.


   II. Legal Standard

         Rulings on motions in limine are by their nature preliminary. United States v. Spotted


Horse, 916 F.3d 686,693 (8th Cir. 2019). "They developed pursuant to the district court's inherent




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authority to manage the course of trials," Luce v. United States, 469 U.S. 38, 41 n.4 (1984), and


are "specifically designed to streamline the presentation of evidence and avoid unnecessary


mistrials." Spotted Horse, 916 F.3d at 693. This practice helps safeguard the jury from hearing


evidence so prejudicial that its mention could not be remedied through a corrective instruction.


Motion in limine. Black's Law Dictionary (llth ed. 2019). Rulings on motions in limine

necessarily occur before the nature and relevance of the evidence can be placed in full context.


See Spotted Horse, 916 F.3d at 693. Therefore, a district court has broad discretion when ruling


on motions in limine and retains the authority to revisit and change its mlings based on how the


case unfolds. Luce, 469 U.S. at 41^2. If this Court grants a motion in limine to exclude certain


information, that information must not be mentioned during voir dire, opening statements,


questioning or answering by witnesses, or closing arguments, unless counsel outside the hearing


of the jury obtain from this Court a contrary ruling.


   III. Discussion


       A. United States's IVIotion in Limine


       The United States's motion in limine has four subparts and seeks to exclude (1) references


to penalty and punishment, (2) opining on the guilt or innocence of the Defendant, (3) hearsay

statements of the Defendant offered by the Defendant, and (4) seeks to sequester witnesses from


the courtroom. The Court addresses each in turn below.


               1. Reference to Penalty or Punishment


       Under subpart one, the United States moves to preclude Defendant, his attorney, or any


witness from referring to the possible penalty or punishment Defendant will face if convicted of


the crimes charged. The United States argues that permitting the jury to hear information about
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what penalty or punishment Defendant faces would be improper and would only confuse the jury.


This Court agrees.


        "It is well established that when a jury has no sentencing function, it should be admonished


to reach its verdict without regard to what sentence might be imposed." Shannon v. United States,


512 U.S. 573, 579 (1994) (cleaned up and citation omitted). The jury's role "is to find the facts

and to decide whether, on those facts, the defendant is guilty of the crime charged." Id.


"[P]roviding jurors sentencing information invites them to ponder matters . . . not within their


province, distracts them from their factfinding responsibilities, and creates a strong possibility of


confusion." Id. (citation omitted). The jury must be able to carry out its role uninfluenced by the


consequence of its verdict. See id. at 578 (citation omitted); United States v. Fisher, 10 F.3d 115,


121 (3d Cir. 1993).

        Accordingly, this Court grants the United States's Motion in Limine as to subpart one.


There shall be no reference to or comment on the possible penalty or punishment Defendant could


receive if convicted. This does not, however, preclude Defendant from referring to the charges as

"serious" or "felony" offenses.


                2. Opining on Guilt or Innocence


        Under subpart two, the United States requests an order barring Defendant, his attorney, and


any witness from expressing their opinion about the guilt or innocence of Defendant. Evidence


expressing an opinion on a defendant's innocence or guilt "invades the province of the jury" and


is inadmissible. See United States v. Thirion, 813 F.2d 146, 156 (8th Cir. 1987) (reasoning that a

government witness's opinion that defendant was innocent "is not tmly exculpatory evidence


because it is inadmissible as it invades the province of the jury"); Wesson v. United States, 164


F.2d 50, 55 (8th Cir. 1947) ("And any such unnecessary opinion evidence in a criminal case that


will inescapably be a plain expression of the witness's opinion of the defendant's guilt. .. should
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be scmpulously avoided."). Therefore, neither Defendant, his attorney, nor any witnesses may


opine on the guilt or innocence of Defendant. This, of course, does not preclude counsel from


arguing whether the evidence presented at trial does or does not establish guilt beyond a reasonable


doubt, nor does it preclude Defendant from testifying, or his counsel from arguing, that he is


actually innocent of the offenses charged.


               3. Hearsay Statements of Defendant Offered by Defendant


       In subpart three, the United States seeks to prevent Defendant from admitting into evidence


out-of-court statements that he may have made to police officers, friends, relatives, or anyone else.


The United States argues that such statements are hearsay and inadmissible under Rule 801 of the


Federal Rules of Evidence. Unless an exception otherwise applies, a defendant's out-of-court


statements, if offered by the defendant to prove the tmth of the matter asserted, are inadmissible


as hearsay. Fed. R. Evid. 801(c)-(d); see United States v. Waters, 194 F.3d 926, 931 (8th Cir.


1999) (holding that defendant could not admit his own out-of-court statements to FBI agent


because they were inadmissible hearsay); United States v. White Horse, 177 F. Supp. 2d 973, 977


(D.S.D. 2001) (reasoning that defendant's statements to a doctor were inadmissible hearsay


because they were offered by the defendant and were not offered under the exception for


statements made for the purpose of diagnosis or treatment). Accordingly, any out of court


statements made by Defendant and offered by Defendant to prove the tmth of the matter asserted


will be inadmissible unless Defendant can show that the statement is admissible under an exception


to the rule against hearsay.


               4. Sequestration of Witnesses


        The last subpart of the United States's motion in limine seeks an order sequestering all


witnesses, except for one investigator or case agent for both the United States and Defendant. "The
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purpose of sequestration is to prevent witnesses from tailoring their testimony to that of prior


witnesses and aid in the detection of dishonesty." United States v. Engelmann, 701 F.3d 874, 877


(8th Cir. 2012) (citation omitted). "At a party's request, the court must order witnesses excluded


from courtrooms so that they cannot hear other witnesses' testimony." Fed. R. Evid. 615;


Engelmaim, 701 F.3d at 877. Generally, "a district court is granted wide latitude in implementing


sequestration orders." Engelmann, 701 F.3d at 877 (citation omitted). And "the decision whether


the allow the government's agent to testify even though the agent sits at the counsel table


throughout the trial is left to the court's discretion." Id. (cleaned up and citation omitted).


Therefore, all witnesses will be sequestered, except for each party's case agent—here Special


Agent Richard Kumley for the United States and investigator John Duffy for the defendant.

       B. Defendant Brave Hawk's Motion in Limine


       Defendant's motion in limine consists of three subparts and seeks to prohibit the United


States's use of Defendant's (1) criminal history, (2) other bad acts, (3) and invocation of his right

to counsel. This Court will address subparts one and two together given their related nature and


proceed to subpart three.


       1. Defendant's Prior Criminal History


       Under subparts one and two, Defendant seeks to prohibit any reference to prior arrests,


prior criminal convictions, or other bad acts "for any purpose," including impeachment. Doc. 76.


Defendant contends that such evidence is inadmissible under Rule 404(b) and Rule 609 of the

Federal Rules of Evidence, though he also relies on Rules 4021 and 403. Id, As Rule 404(b)(l)

states, "[e]vidence of any other crime, wrong,or act is not admissible to prove a person's character




  Rule 402 of the Federal Rules of Evidence merely expresses that relevant evidence is admissible,
unless "the United States Constitution, a federal statute, these rules, or other rules prescribed by
the Supreme Court" provide otherwise.
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in order to show that on a particular occasion the person acted in accordance with the character."


Yet, evidence of prior crimes, wrongs, or acts "may be admissible for another purpose, such as


proving motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or


lack of accident." Fed. R. Evid. 404(b)(2). Exclusion of evidence under Rule 404(b) is generally

reserved for "when the evidence clearly ha[s] no bearing on the case and [is] introduced solely to


show defendant's propensity to engage in criminal misconduct." United States v. Walker, 428


F.3d 1165, 1169-70 (8th Cir. 2005) (citation omitted).

        Because "Rule 404(b) is a mle of inclusion rather than exclusion," United States v. Bowie,


232 F.3d 923, 929-30 (D.C. Cir. 2000), this Court will not prohibit the admission of Defendant's

prior crimes, wrongs, or acts "for any purpose." The United States has not provided pretrial notice


of its intent to offer Rule 404(b) evidence, and absent written notice given during trial, along with

good cause to excuse a lack of pretrial notice, such evidence will not admitted. Fed. R. Evid.


404(b)(3)(C).

        Defendant also seeks an order prohibiting the United States from using his prior

convictions for impeachment should he testify. Defendant contends that his prior convictions do


not qualify for use as impeachment evidence under Rule 609(a) because none of his convictions


were punishable by death or imprisonment for more than one year. Under Rule 609(a), a


 defendant's prior conviction may be used to attack their character for truthfulness, should they


 choose to testify, if the crime of conviction was a felony offense and "the probative value of


 admitting this evidence outweighs its prejudicial effect" to the defendant. United States v. Collier,


 527 F.3d 695, 699 (8th Cir. 2008); see United States v. Stoltz, 683 F.3d 934, 938-39 (8th Cir.

 2012) (discussing how Rule 609(a) applies to witnesses generally, not a defendant who testifies).

 However, "for any crime regardless of the punishment, the evidence must be admitted if the court
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can readily detennine that establishing the elements of the crime require proving—or the witness's


admitting—a dishonest act or false statement." Fed. R. Evid. 609(a)(2); United States v. Smart,


60 F.4th 1084, 1092 (8th Cir. 2023). "Evidence of a conviction requiring proof or admission of

an act of dishonesty or false statement is automatically admissible and not subject to Rule 403


balancing." Collier, 527 F.3d at 700.


        Here, a review of Defendant's bail report does not reveal any prior felony convictions that


would be admissible under Rule 609(a)(l). Defendant did, however, plead guilty to Impersonation

to Deceive Law Enforcement Officer in Roberts County on December 23, 2014. Doc. 69 at 3.


This conviction is within the ten-year period of admissibility under Rule 609(b). Under South

Dakota law, impersonation to deceive a law enforcement officer requires proof of "offering a


fictitious name or false date of birth, with [the] intent to deceive." SDCL § 22-40-1. Therefore,


Defendant's conviction for impersonation to deceive a law enforcement officer might be


admissible to impeach his character for truthfulness should he choose to testify. This Court will


preclude reference during voir dire, opening statements, or witness testimony of any prior


conviction of Defendant and will rule shortly before Defendant's testimony, if he does testify,


about whether the impersonation to deceive law enforcement officer conviction is admissible on


defendant's credibility.


        2. Invocation of Right to Counsel


        Lastly, Defendant seeks to prohibit the United States from referencing or commenting on


the invocation of his right to counsel post-Mmmda warnings. Under Miranda, a person subject to


custodial interrogation must "be advised immediately that he has the right to remain silent, that


 anything he says may be used against him, and that he has a right to retained or appointed counsel


before submitting to interrogation." Doyle v. Ohio, 426 U.S. 610, 617 fl976). The Miranda
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warnings implicitly assure every recipient that exercising such rights will not be used against them


at trial. Id. at 618-19. "[I]t would be fundamentally unfair and a deprivation of due process to


allow" a defendant's credibility to be impeached because they exercised a constitutionally


protected right. See id at 618. Thus, the United States shall not make any reference to or comment


on Defendant invoking his right to counsel.


    IV. Conclusion


          Therefore, for good cause, it is hereby


          ORDERED that the United States's First Motion in Limine, Doc. 94, is granted. It is


further

          ORDERED that Defendant's Motion in Limine to Prohibit Specified Evidence, Doc. 76, is

 granted in part and denied only with respect to possible admission of the conviction for


 impersonation to deceive law enforcement if he were to testify.


          DATED this 11th day of March, 2024.

                                                BY THE COURT:


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                                                ROBERTO A. LAN
                                                CHIEF JUDGE
